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RBP, LLC, ) w fg/;;j{:i/z£é?
) acq/da
Plaintiff, )
)
vs. ) No. 04-1154 T/An
)
GENUINE PARTS Co. and 1N1)1ANA )
leURANCE Co., )
)
l)efendants. )
GENUlNE PARTS Co., )
)
Third-Party Plaintiff, )
)
vs. )
)
ALLIANZ GLOBAL RISK U.s. )
INSURANCE Co. and LEXINGTON )
INSURANCE CO., )
)
Third-Party Defendants. )
oRDER

 

Before the Court is Plaintiff" s and Third~Party Defendant’s Joint Motion to Set Aside
Order Granting Plaintifl"s Third Motion to Amend filed on July 6, 2005. On July 26, 2005, the
Court held a hearing to determine Whether sanctions should be imposed for Plaintiff’s failure to

properly consult With opposing counsel as required by the Loca] Ru]es for the Western District of
Tennessce. After due consideration, the Court concludes that P]aintiff’ S counsel did consult with

opposing counsel prior to filing the Motion to Ainend, and the Court concludes that a clerical

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error prevented defense counsel from being served with a copy of the Third Motion to Arnend.
For these reasons, sanctions are not appropriate in this matter

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: zaf:.aj¢ /O, ZA'.>C\(d

 

Notice of Distribution

This notice confirms a copy of the document docketed as number l25 in
case l:04-CV-0] 154 Was distributed by faX, mail, or direct printing on
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sssEE

 

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